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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

EDDYSTONE RAIL COMPANY, LLC
Petitioner, Civil Action No. 17-CV-
vs.

JAMEX TRANSFER SERVICES, LLC,

Respondent.

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PETITION TO CONFIRM ARBITRATION AWARD

Petitioner Eddystone Rail Company, LLC, by its undersigned attorneys, brings this
petition pursuant to 9 U.S.C. § 9 to confirm an arbitration award (the “Arbitration Award”)
rendered against Respondent Jamex Transfer Services, LLC on January 24, 2017, in the
arbitration Eddystone Rail Services, LLC v. Jamex Transfer Services, LLC, administered by a
panel of the Society of Maritime Arbitrators, Inc.

‘ The Parties

il, Petitioner Eddystone Rail Company, LLC (“ERC”) is a Delaware entity, with its
principal place of business located at 5 Industrial Highway, Eddystone, PA 19022.

2. Respondent Jamex Transfer Services, LLC (“JTS”) is a Louisiana entity, with its
principal place of business located at 2009 Chenault Drive, Suite 110, Carrollton, Texas 75006.

Jurisdiction and Venue

3. The Court has jurisdiction over the subject matter of this proceeding pursuant to

28 U.S.C. § 1333(1), because the arbitration resolved claims arising under a maritime contract.

The maritime contract in question concerns ERC’s providing the service of transloading crude
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oil from railcars delivered to ERC’s facility on the Delaware River onto vessels at the facility’s
dock for subsequent shipment to refineries downriver.

4. The Court has personal jurisdiction over JTS because the Arbitration Award was
made in this District and because JTS agreed to arbitrate in this District. 9 U.S.C. § 9; Doctor's
Assocs., Inc. v. Stuart, 85 F.3d 975, 983 (2d Cir. 1996); Colavito v. Hockmeyer Equip. Corp.,
605 F. Supp. 1482, 1485 (S.D.N.Y. 1985).

5. Venue is proper in this District under 9 U.S.C. § 9 because the arbitration
agreement between Petitioner and Respondent did not specify a court for confirming an
arbitration award, and the Arbitration Award was made in this District.

Facts

6. ERC owns a rail terminal in Eddystone, Pennsylvania with docks on the Delaware
River. Under an agreement with JTS, ERC transloaded crude oil from rail cars at the facility
onto barges at its docks for shipment to refineries along the river. On February 13, 2013, ERC
entered into the Eddystone Rail Facilities Services Agreement (the “RSA”) with JTS (then
named Bridger Transfer Services, LLC) to construct this facility and provide JTS with
transloading services for a five-year term. In exchange, JTS committed to bring a certain
minimum volume of crude oil to the facility for transloading each month, or else pay a
deficiency fee for each barrel by which it fell short of its minimum volume commitment.

i. The Parties agreed to submit to arbitration in the event that a dispute arose
concerning payment under the RSA. Specifically, Section 16(b) of the RSA provided that

either Party may refer the Dispute to three (3) persons at New York, one to be

appointed by each of the Parties, and the third by the two so chosen; their decision

or that of any two of them shall be final, and for the purpose of enforcing any

award, the Agreement and these terms and conditions may be made a rule of the

court. The proceedings shall be conducted in accordance with the Rules of the
Society of Maritime Arbitrators, Inc. (“SMA”).
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8. An arbitrable dispute between the Parties arose when, in February 2016, JTS
stopped bringing trains into ERC’s transloading facility and refused to make any additional
payments it owed to ERC under the RSA, including deficiency fee payments. In response, ERC
on April 19, 2016 formally demanded that the Parties submit their dispute to arbitration.

9. To resolve the dispute, the Parties designated three arbitrators in accordance with
the arbitration agreement (the “Panel”). The Panel proceeded to hear allegations of the Parties,
and took testimony of certain fact witnesses at a hearing held on June 29, 2016 in New York
City. On January 5, 2017, the Parties settled their dispute, and JTS consented to entry of an
award against it.

10. In accordance with the terms of the Parties’ settlement agreement, the Panel
issued the Arbitration Award in New York City on January 24, 2017. The Arbitration Award
determined that “Jamex Transfer Services, LLC materially breached and anticipatorily
repudiated the Eddystone Rail Facilities Services Agreement,” and is therefore “liable to
Eddystone Rail Company, LLC for general damages resulting therefrom.” The Arbitration

Award awarded ERC damages in the amount of $139,050,406.77.
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Demand for Relief
WHEREFORE, ERC respectfully requests that:
1. This Court enter an order confirming the Panel’s January 24, 2017 Arbitration Award;

and

2. This Court enter judgment against JTS in the amount of $139,050,406.77.

Dated: February 17, 2017
Respectfully submitted,

STEPTOE & JOHNSON LLP

By: Vm (la—

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